                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                   CHATTANOOGA DIVISION

  NATHAN ALEXANDER SMITH,                            )
                                                     )
                 Plaintiff,                          )
                                                     )
         v.                                          )          1:24-CV-00104-DCLC-CHS
                                                     )
  MEIGS COUNTY GOVERNMENT, et al.,                   )
                                                     )
                 Defendants.                         )


                                             ORDER

        On June 10, 2024, the Court consolidated the above-captioned action with Kenneth Andrew

 Colbaugh, et al. v. Meigs County Sheriff’s Department, et al., No. 1:24-CV-151 (the “Colbaugh

 case” for the purposes of determining which plaintiff had the statutory right of action to bring a

 wrongful death action on behalf of Tabatha Marie Colbaugh (“decedent”) [Doc. 54].              On

 November 27, 2024, the Court found that the right of action passed to decedent’s children and

 dismissed the claims asserted by her spouse, Kenneth Colbaugh, in the Colbaugh case [Doc. 95].

 The Court further directed the parties to confer regarding how to proceed with the children’s joint

 right of action in one case [Id.]. On December 27, 2024, the plaintiffs filed a joint status report

 informing that Nathan Alexander Smith (“Smith”) would (1) join the remaining plaintiffs in the

 Colbaugh case and (2) seek dismissal of the above-captioned action [Doc. 96].

        Smith has now filed a notice of voluntary dismissal in the above-captioned action and the

 plaintiffs, including Smith, filed an Amended Complaint in the Colbaugh case. Accordingly, the

 above-captioned action is DISMISSED WITHOUT PREJUDICE. The Clerk is directed to close

 the case. It is further ORDERED that Meigs County Government’s Motion to Dismiss [Doc. 56;

 Doc. 22 in 1:24-CV-151] and Smith’s Motion for leave to file excess pages in response to the

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 motion to dismiss [Doc. 59; Doc. 25 in 1:24-CV-151] are DENIED AS MOOT. See In re

 Refrigerant Compressors Antitrust Litig., 731 F.3d 586, 589 (6th Cir. 2013) (“An amended

 complaint supersedes an earlier complaint for all purposes.”).

        SO ORDERED:


                                              s/Clifton L. Corker
                                              United States District Judge




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